             IN THE UNITED STATES DISTRICT COURT FOR
               THE SOUTHERN DISTRICT OF NEW YORK
                         White Plains Division

                                             No. 20-cv-170
RICHARD O’CONNELL,
                                             COMPLAINT FOR VIOLATIONS OF
                            Plaintiff,       THE UNIFORMED SERVICES
v.                                           EMPLOYMENT AND
                                             REEMPLOYMENT RIGHTS ACT
TOWN OF BEDFORD POLICE
DEPARTMENT; AND                              DEMAND FOR DAMAGES, AND
MELVIN PADILLA AND MICHAEL                   JURY TRIAL
CALLAHAN, INDIVIDUALLY,
                                             EXEMPT FROM FILING FEES
                          Defendants.        UNDER 38 U.S.C. § 4323(h)(1)

                                  COMPLAINT

      Plaintiff, Richard O’Connell (“Plaintiff” or “Sergeant O’Connell”), by and

through his undersigned attorneys, brings this Complaint against the Town of

Bedford Police Department, Melvin Padilla, and Michael Callahan (collectively,

hereafter “Defendants”), and alleges as follows:

                       I. NATURE OF THIS ACTION

      1.    This is a civil action brought pursuant to the Uniformed Services

Employment and Reemployment Rights Act of 1994, 38 U.S.C. §§ 4301 - 4335

(“USERRA”). Defendants willfully violated Sergeant O’Connell’s USERRA rights:

first, by denying him his benefits of employment based on his military service

obligation, and, second by retaliating against him because he exercised his USERRA


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rights. Sergeant O’Connell seeks his lost wages and benefits, an injunction, as well

as liquidated damages for Defendants’ willful USERRA violations.

                     II.       JURISDICTION AND VENUE

       2.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331

and 38 U.S.C. § 4323(b).

       3.     The United States District Court for the Southern District of New York

is a proper venue for this action under 38 U.S.C. § 4323(c)(2), because Defendants

are a municipal entity that maintain a place of business in this judicial district.

Additionally, venue is proper under 28 U.S.C. § 1391(b) because the events giving

rise to this action occurred in this district.

       4.     This action arose in Westchester County, New York, at the Town of

Bedford; therefore, pursuant to local rules this action should be assigned to the

White Plains Division.

       5.     All statutory conditions precedent to the initiation of this lawsuit have

been fulfilled.

                                  III.   PARTIES

       6.     Defendant, Town of Bedford Police Department (“TBPD”), is a

municipal agency that maintains a place of business at 307 Bedford Road, Bedford

Hills, New York, 10507.




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      7.      TBPD employed, managed and controlled Sergeant O’Connell’s

employment opportunities at all times relevant to this lawsuit.

      8.      For the purposes of 38 U.S.C. §§ 4303(4), 4323 of USERRA, TBPD is

a private employer.

      9.      Defendant, Melvin Padilla is a Police Chief for the Town of Bedford.

      10.     Defendant, Melvin Padilla is Sergeant O’Connell’s ultimate

supervisor.

      11.     Defendant, Melvin Padilla is a TBPD employee who controlled

Sergeant O’Connell’s employment opportunities at all times relevant to this lawsuit.

      12.     For the purposes of 38 U.S.C. §§ 4303(4), 4323 of USERRA,

Defendant, Melvin Padilla is a private employer.

      13.     Defendant, Michael Callahan is a Police Lieutenant for the Town of

Bedford.

      14.     Defendant, Michael Callahan is Sergeant O’Connell’s supervisor.

      15.     Defendant, Michael Callahan is a TBPD employee who controlled

Sergeant O’Connell’s employment opportunities at all times relevant to this lawsuit.

      16.     For the purposes of 38 U.S.C. §§ 4303(4), 4323 of USERRA,

Defendant, Michael Callahan is a private employer.

      17.     Sergeant O’Connell maintains a residence in Westchester County,

New York.

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      18.   Sergeant O’Connell is employed with TBPD as a police sergeant.

      19.   Sergeant O’Connell’s military service periods while employed with

TBPD do not exceed five years.

      20.   Sergeant O’Connell’s records for active duty reflect honorable service

to the United States of America.

                                   IV.   FACTS

               History of Anti-military Animus at TBPD.

      21.   In June 2011, Mr. O’Connell served as a police officer with the

Larchmont Police Department.

      22.   At approximately the same time Mr. O’Connell applied for a police

officer position at the nearby Town of Bedford Police Department (hereinafter

“TBPD”).

      23.   Mr. O’Connell interviewed for the TBPD position on July 1, 2011.

      24.   During the July 1, 2011 interview, Sergeant O’Connell mentioned a

pending possible deployment with his Army National Guard unit.

      25.   On October 6, 2011, Mr. O’Connell received an email from Detective

Joseph Comunale.

      26.   Detective Joseph Comunale was the background investigator for Mr.

O’Connell’s employment application.




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       27.   Detective Joseph Comunale’s email stated that Mr. O’Connell’s

background check was complete and “in the chief’s hand.”

       28.   However, in mid-November, 2011, Larchmont PD Sergeant (Glenn

Carney) notified Mr. O’Connell that the reason the TBPD did not hire O’Connell

was because the TBPD “…won’t hire someone who is about to deploy.”

       29.   Sgt. Carney then suggested that Mr. O’Connell contact the TBPD

directly to advise them that his deployment was voluntary.

       30.   The next day O’Connell called TBPD Police Chief Hayes and advised

him that he, O’Connell, was awaiting TBPD's hiring decision before making a

decision to volunteer for a deployment.

       31.   Chief Hayes stated that he was under the impression that O’Connell

was definitively deploying.

       32.   Chief Hayes then stated that he would check on the background

investigation status.

       33.   Mr. O’Connell was immediately processed for hiring within days of

this call.

       34.   On November 30, 2011, TBPD initiated a request to transfer Mr.

O’Connell from Larchmont Police Department to TBPD.

       35.   On December 23, 2011, Westchester County Human Resources

approved the transfer request.

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       36.    On February 1, 2012, Mr. O’Connell began working for TBPD.

       37.    In the Fall of 2012, Mr. O’Connell met an Air National Guard recruiter

regarding the process of reenlisting/transferring services prior to his current military

contract expiration.

       38.    Shortly thereafter, Mr. O’Connell was on duty at TBPD and speaking

with a coworker, Jon Evans, about O’Connell’s intention to reenlist.

       39.    Sgt. Melvin Padilla overheard the conversation.

       40.    Sgt. Melvin Padilla interjected: “if you're still in the military at the time

promotions come around, it's not going to look good for you".

       41.    Fearing the repercussions Sgt. Padilla signaled, Mr. O’Connell halted

his efforts to reenlist.

       42.    In November of 2013, Mr. O’Connell was working with a Detective

Sergeant, Thomas Diebold.

       43.    Detective Sergeant Diebold was Det. Joseph Comunale’s supervisor

during O’Connell’s background and hiring investigation.

       44.    Detective Sergeant Diebold was responsible for reviewing all

background investigations with the Chief of Police upon completion.

       45.    Mr. O’Connell was aware that Detective Sergeant Diebold was

responsible for reviewing all background investigations with the Chief of Police

upon completion.

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      46.     O’Connell asked Sergeant Diebold if his military service had been a

roadblock in the decision to hire him.

      47.    Laughing, Sergeant Diebold stated: "I have to plead the fifth on that

one; it was definitely a hot topic."

      48.    On September 2, 2015, O’Connell (hereinafter Sergeant O’Connell)

was promoted to the police rank of Sergeant.

      49.    On or around March 2018, Sergeant O’Connell was approved by the

Coast Guard for enlistment into the Coast Guard Reserve.

      50.    In May 2018, now “Chief” Padilla received a background

questionnaire from the FBI regarding Sergeant O’Connell’s military security

clearance.

      51.    Chief Padilla then asked O’Connell: “What’s this investigation for?”

      52.    Sergeant O’Connell explained that he was in the process of reenlisting

for approximately 2 years, the questionnaire was sent to multiple persons, and it is

one of the last steps to reenlisting.

      53.    Chief Padilla verbally reprimanded Sergeant O’Connell for “not

advising him of this sooner.”

      54.    In fear of Chief Padilla again attempting to sabotage his reenlistment

efforts, Sergeant O’Connell advised his military recruiter that there is a possibility




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that Chief Padilla may hinder the background investigation in an attempt to stop

Sergeant O’Connell from reenlisting.

      55.    At this same time, Lt. Andrew Bellantone received an identical

questionnaire because he had been listed as a previous supervisor for Sergeant

O’Connell.

      56.    Lt. Bellantone informed Sergeant O’Connell that he had been

questioned by Padilla as to why he received a questionnaire as well.

      57.    Lt. Bellantone advised Sergeant O’Connell that he was uncomfortable

completing the form out of fear of reprimand from Chief Padilla.

      58.    On approximately June 19, 2018, Lt. Bellantone, a former Coast Guard

member himself, and who, on July 19, 2016, had written a positive letter of

recommendation for Sergeant O’Connell’s initial attempt to enlist in the Coast

Guard, advised Sergeant O’Connell that he is uncomfortable using his previous

letter of recommendation identifying himself as a Bedford Police Department

member, out of fear of reprimand by Chief Padilla.

      59.    In June 2018, Sergeant O’Connell received orders for Coast Guard

training, and immediately emailed notice to his supervisor, Lt. Callahan.

      60.     In July 2018, Sergeant O’Connell took leave to attend initial training

with the Coast Guard.




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      61.     On or about August 10, 2018, Sergeant O’Connell returned to work at

TBPD.

      62.     On or about August 10, 2018, Lt. Callahan directed Sergeant

O’Connell to direct all military leave requests to his attention.

      63.     On or about September 17, 2018, Lt. Vincent Gruppuso also emailed

Sergeant O’Connell, instructing Sergeant O’Connell to also include him in all

notifications of military duty.

      a. Denial of the Benefit of Employment; the Opportunity to Select Work

            Hours or Location of Employment.

      64.     TBPD police officers enjoy a collectively bargained benefit that allows

the officers the opportunity to select work hours or location of employment by

allowing an officer to “swap” shifts with another member of equal rank.

      65.     Shift swap requests can be made as far as 60 days in advance of the

date(s) requested.

      66.     Shift swap requests are always approved upon receipt.

      67.     Shift swap requests are even approved up to the date requested.

      68.     If an officer swaps shifts, that officer receives regular pay, even if the

officer works overtime because of the swap.

      69.     Not paying overtime works to the advantage of the TBPD.




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      70.    In October of 2018, Sergeant O’Connell submitted shift swap requests

with two other Sergeants.

      71.    The shift swap requests were not approved upon receipt.

      72.    On or about November 4, 2018, Sergeant O’Connell provided Lt.

Callahan with verbal notice of his upcoming monthly military drill dates.

      73.    Lt. Callahan directed Sergeant O’Connell to provide documentation to

prove his drill obligation.

      74.    Sergeant O’Connell explained to Callahan that no such documentation

exists for short term military duty.

      75.    On or about November 14, 2018, the above-mentioned shift swaps

were still not approved.

      76.    A fellow sergeant informed Sergeant O’Connell that Lt. Callahan told

him that he is withholding approval for Sergeant O’Connell’s shift swap requests

because Sergeant O’Connell is in the military, and Lt. Callahan wants to ensure that

he will be there for the dates in question.

      77.    Sergeant O’Connell immediately inquired with Lt. Callahan about the

decision to withhold approval for the shift swap requests.

      78.     Sergeant O’Connell advised Lt. Callahan that treating him with any

form of bias based on military obligations is against the law.




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      79.     Nevertheless, Chief Padilla later ratified this decision to withhold

approval for the shift swap requests.

      80.     In fact, a month later, on December 19, 2018, Chief Padilla told

Sergeant O’Connell that Lt. Callahan decided to withhold the shift change requests

until 7 days prior to the requested change, to ensure that Sergeant O’Connell was

not on military leave for that date.

      81.     Citing USERRA, Sergeant O’Connell advised Chief Padilla it is

discriminatory to withhold a benefit of employment based on military service

obligation.

      82.     Chief Padilla responded: “Well you are the only one in the military.”

      83.     Sergeant O’Connell also explained to Chief Padilla that withholding

shift changes until the week prior, puts Sergeant O’Connell at a significant

disadvantage with his peers because they will no longer want to swap shifts with

him if doing so requires his peers to not receive approval until a week prior.

      84.     The meeting between Chief Padilla and Sergeant O’Connell continued

for nearly three hours.

      85.     As directed, from January to August 2019, Sergeant O’Connell

continued to notify Lt. Callahan of his upcoming military leave dates via email.




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      b. Demanding Documentation in Contravention of USERRA.

      86.    On October 23, 2019, Lt. Callahan emailed Sergeant O’Connell and

demanded documentation for all military duty dating back to January 2019.

      87.    Sergeant O’Connell responded by email and explained, again, that he

does not receive formal documentation of regular drills, because that documentation

is primarily only issued for schools or extended training.

      88.    On December 31, 2019, Sergeant O’Connell sent Lt. Callahan an

email providing notice of his January military duty dates.

      89.    On January 14, 2020, Lt. Callahan emailed Sergeant O’Connell,

stating in pertinent part: "As stated earlier – We need some type of documentation

that you attended. You receiving a text and us getting an email is not sufficient."

      90.    On January 17, 2020, Sergeant O’Connell returned to work and read

the above email message from Lt. Callahan.

      91.    Sergeant O’Connell immediately went to speak with Chief Padilla.

      92.    Sergeant O’Connell explained to the chief that he has already

explained to Lt. Callahan that there is no such thing as formal orders for short term

military duty.

      93.    Citing 38 U.S.C. § 4312(f)(1) and 20 C.F.R. § 1002.121, Sergeant

O’Connell further explained that a servicemember is not required to provide

documentation to an employer for periods of service under 30 days.

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      94.    Also citing USERRA (38 U.S.C. 4312(a)(1), 20 C.F.R. § 1002.85(c)),

Sergeant O’Connell further explained that not only was an email notification

sufficient, but a verbal notice alone is sufficient as well.

      95.    Chief Padilla dismissed Sergeant O’Connell’s legal citations and said

there is no such law.

      96.    The meeting lasted nearly two hours, while Sergeant O’Connell

defended his USERRA rights and cited the law of USERRA.

      c. TBPD Discriminated and Retaliated Against Sergeant O’Connell

      because he Exercised his Rights Under USERRA.

      97.    On January 19, 2020, Sergeant O’Connell filed a DOL/VETS

USERRA complaint.

      98.    On January 20, 2020, Sergeant O’Connell notified Chief Padilla and

Lt. Callahan of his USERRA complaint with the DOL

      99.    Sergeant O’Connell provided Chief Padilla and Lt. Callahan with the

specific sections of USERRA that applied to their actions.

      100. From that point forward, Sergeant O’Connell was made the target of

additional scrutiny by his supervisors.

      101. On January 20, 2020, Sergeant O’Connell notified Chief Padilla and

Lt. Callahan that the demands for military documentation violated USERRA.




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         102. On January 22, 2020, Lt. Gruppuso called Sergeant O’Connell into his

office and stated in pertinent part: “I know exactly what’s going on with you and

I’m not involved.”

         103. Lt. Gruppuso then proceeded to verbally reprimand Sergeant

O’Connell for an insignificant call in December 2019.

         104. Lt. Gruppuso also denied Sergeant O’Connell’s request to teach at

Rockland County Police Academy, which he had done several times before without

issue.

         105. Then, Lt. Gruppuso handed Sergeant O’Connell a personnel

evaluation for 2019.

         106. The evaluation was full of negative comments, including a discussion

of a contractual language dispute and an alleged “policy violation” for a policy that

was not in existence at the time of the alleged incident.

         107. Sergeant O’Connell refused to sign the untruthful evaluation.

         108. On or about January 22, 2020, Sergeant O’Connell filed a grievance

against Chief Padilla regarding the TBPD’s Military Leave General Order that, in

contradiction of USERRA, requires documentation from the servicemember for

periods of service that do not exceed 30 days. In contravention of USERRA, the

policy states:




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      Military Leave

         1. A member requesting Military Leave shall submit the
         receipt of military orders to report to the appropriate Division
         Commander. Military Leave shall be granted in compliance
         with section 242.5 of the New Your State Military Law. The
         Administrative Division Commander shall complete the
         appropriate entry in the department Electronic time and
         attendant system.

      109. Chief Padilla ignored the grievance entirely.

      110. On or about February 3, 2020, in accordance with the grievance

procedures outlined in the Town of Bedford and Police Benevolent Association

Collective Bargaining Agreement (CBA), Sergeant O’Connell delivered the

grievance to the office of Town Supervisor Chris Burdick.

      111. The grievance was then to be presented to the Town Board for review

in accordance with the CBA.

      112. On or about February 14, 2020, Sergeant O’Connell called Burdick

and inquired whether any additional information was required to process the

grievance.

      113. Burdick responded that he did not require any further information.

      114. To this date, Sergeant O’Connell has not received any response

regarding this grievance, and the policy has not been changed.

      115. At about the same time, in direct violation of the Town of Bedford’s

workplace violence policy, the members of the department administrative staff

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began ignoring Sergeant O’Connell’s routine requests and calls for and work-

related assistance.

       116. From June 10 to July 2, 2020, Sergeant O’Connell attended training

with the Coast Guard.

       117. On July 8, 2020, Chief Padilla called Sergeant O’Connell into his

office.

       118. Chief Padilla issued Sergeant O’Connell a written reprimand for not

entering a call for service on April 24, 2020.

       119. Sergeant O’Connell informed Lt. Gruppuso about the call for service

at the time it occurred.

       120. Lt. Gruppuso specifically instructed Sergeant O’Connell that there is

nothing to do with the call.

       121. Sergeant O’Connell explained to Chief Padilla that no call was

generated specifically because of Gruppuso’s comment that “there was nothing to

it.”

       122. Chief Padilla ignored the facts and issued Sergeant O’Connell the first

formal reprimand and punishment in O’Connell’s 12-year career.

       123. Chief Padilla imposed the harshest punishment he has ever dealt to a

Bedford police officer.




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      124. Chief Padilla prevented Sergeant O’Connell from taking any overtime

for 30 days.

      125. This rarely imposed punishment has previously been applied to only

very serious offenses, including showing up to work drunk, showing up to work

drunk and driving a patrol car, refusing to attend a call for a dying toddler, and lying

about being on-scene.

      126. On August 19, 2020, Sergeant O’Connell received a notice of active

duty orders from the Coast Guard.

      127. The orders directed Sergeant O’Connell to begin military service on

September 1, 2020.

      128. Sergeant O’Connell immediately sent an email notifying Lt. Callahan

of the military orders.

      129. Lt. Callahan responded: “received.”

      130. On August 22, 2020, Sergeant O’Connell returned from an out of state

trip from a state with mandatory 14-day quarantine.

      131. Sergeant O’Connell was placed into a self-quarantine related to Covid-

19 precautions.

      132. On September 1, 2020, Sergeant O’Connell started active duty with

the Coast Guard.




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      133. On September 2, 2020, Sergeant O’Connell received a telephone call

from the Bedford Police Union attorney, John D’Alessandro, advising him that the

Town of Bedford’s attorney, Jaclyn Goldberg had contacted him and stated “they

received Sergeant O’Connell’s military orders and will be following the law”.

      134. D’Alessandro further explained to Sergeant O’Connell that he would

not receive pay, would lose his health and dental insurance, and the town would

probably not provide him a holiday check in accordance with the CBA.

      135. As a sergeant with the TBPD, Sergeant O’Connell held many

administrative duties and responsibilities, including being the lead administrator for

several police operational systems.

      136. Accordingly, on September 3, 2020, Sergeant O’Connell directed his

attorney to deliver a listing of administrative “turn-over” instructions to the

Department so that the department had easy access to the systems Sergeant

O’Connell administered.

      137. In response, the TBPD’s attorney, Jaclyn Goldberg stated:

             The Town and I are aware that Sgt. Rich O’Connell
             submitted active duty military orders covering the period
             of September 1, 2020 through and including February 27,
             2021. Your below email seems to suggest that the Police
             Department attempted to communicate and/or impose
             work related obligations on Sgt. O’Connell since his
             departure on September 1st. It is my understanding that
             such is not the case and that the Police Department has no
             intention to attempt to communicate and/or impose
             work related obligations on Sgt. O’Connell while he is
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              away on active duty. Since my client has no intention of
              contacting Sgt. O’Connell during his military duty, it will
              not be necessary for me to contact you in the future for any
              reason. If things change, I’ll be sure to let you know.

        138. On September 9, 2020, Sergeant O’Connell submitted paid leave

requests through the TBPD’s attorney.

        139. Because Chief Padilla was now aware that Sergeant O’Connell is

represented by an attorney, Chief Padilla began a new campaign of discrimination

and retaliation.

        140. First, on September 14, 2020, Sergeant O’Connell was informed by a

coworker that Chief Padilla and Lt. Callahan would not be enforcing previously

approved swaps Sergeant O’Connell had made with other Sergeants.

        141. These Sergeants were working for Sergeant O’Connell without the

accompanying monetary compensation for Sergeant O’Connell.

        142. Consequently, Sergeant O’Connell worked over $1,000 of overtime for

free.

        143. Second, rather than honor Sergeant O’Connell’s paid leave requests, on

September 14, 2020, in direct contravention of 38 U.S.C. § 4316(d), the TBPD

denied Sergeant O’Connell’s requests.

        144. Further, despite Ms. Goldberg’s assurances not to require work related

responsibilities or to communicate with Sergeant O’Connell (supra), Ms. Goldberg

also responded to Sergeant O’Connell’s paid leave requests, stating:
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             While I understand that you previously informed me that
             you represent Rich O'Connell (“Sgt. O’Connell”) with
             regard to his USERRA rights, Sgt. O’Connell has not
             notified the Chief of Police, or any Command Officer, that
             you are authorized to speak on his behalf (when
             appropriate).

      145. On September 14, 2020, Sergeant O’Connell notified Chief Padilla

(and cc’d the TBPD attorney and his own attorney) stating that he is very busy while

engaged in his military duties, that his attorney is authorized to speak on his behalf

with regard to any matter of employment, to wit:


             Chief,

             I am very busy while on military duty. Accordingly, I
             directed my attorney to provide notice to the
             department through its attorney of the dates that I intend
             to use paid leave while I’m in military service. Those
             requests were apparently denied, and the town’s attorney
             now tells us that I must communicate directly to you that
             I have designated Mr. Jarrard to speak on my behalf.

             Therefore, I designate, my attorney, Thomas G. Jarrard,
             JD/MBA        to     communicate    with     the    town,
             police department        or   your   attorneys on     my
             behalf regarding: my requests for paid leave while on
             military duty, other benefits of employment, any other
             employment or military related matter, for the purposes of
             giving notices to the department, and regarding my
             availability to return to work.

             Mr. Jarrard has already provided your attorney the dates
             of my leave requests.




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             If you have any questions or concerns while I am on
             military duty, have your attorney contact Thomas Jarrard,
             cc’d here.

      146. Third, on September 15, 2020, Ms. Goldberg responded in a 4-page

single spaced letter stating that while Sergeant O’Connell is on active duty, he must

submit his requests directly to the Chief or other commander via telephone, email or

U.S. mail.

      147. On September 15, 2020, as requested in Ms. Goldberg’s letter, Sergeant

O’Connell emailed Chief Padilla directly regarding his paid leave requests.

      148. Fourth, rather than honor Sergeant O’Connell’s paid leave requests, and

despite the assurances and instructions from the TBPD attorney, Chief Padilla,

responded, stating that, rather than the direct email request that O’Connell provided

(supra), Sergeant O’Connell must now access the department’s personnel systems

to request paid leave.

      149. Sergeant O’Connell’s paid leave requests were still denied.

      150. As a consequence of the denial of those paid leave requests, Sergeant

O’Connell and his family lost their dental coverage, because Sergeant O’Connell

had no paid hours during the month.

      151.   In October 2019, Sergeant O’Connell took a Lieutenant Promotion test

with five other officers. Sergeant O’Connell placed number one on the resulting




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Lieutenant Promotion List, Sergeant O’Connell was number two on the previous

Lieutenant Promotion List.

      152. On December 1, 2020, Sergeant O’Connell interviewed for promotion

to both, Detective Sergeant and Lieutenant.

      153. On or about December 18, 2020, TBPD informed Sergeant O’Connell

that he had been passed over for both promotions, in favor or less qualified

applicants.

      154. As a result of Defendants’ unlawful conduct in violation of USERRA,

Sergeant O’Connell has suffered a loss of earnings and other benefits of employment

in an amount to be proved at trial.

      155. As a result of Defendants actions, Sergeant O’Connell has had to hire

private counsel to enforce his USERRA rights with respect to his right to civilian

employment while serving on active duty in the Coast Guard Reserve.

      156. Further, as a result of Defendants’ unlawful conduct and the necessity

of this action to seek a remedy, Sergeant O’Connell fears further retaliation against

his employment rights by Defendants or its managers, directors or employees.

      157. As such, any employment relationship that Sergeant O’Connell may

have enjoyed with Defendants prior to filing this action is irreparably damaged

through no fault of Sergeant O’Connell.




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       158. Upon information and belief, Defendants are a party to contracts with

the United States and the State of New York which prohibit Defendants from

discrimination against veterans and military service members as further evidence of

its knowing and reckless disregard for the protections afforded a service member

under USERRA.

       159. Upon information and belief, Defendants maintained workplace

posters that set out employer responsibilities under USERRA as required by 38

U.S.C. § 4334.

       160. At all times relevant hereto, Defendants had a duty to conduct

themselves in compliance with the law, including USERRA and ensure its

managers and agents followed the Act.

       161. The above-referenced actions by Defendants, and their agents,

breached those duties.

       162. Defendants’ alleged reasons for denying Sergeant O’Connell’s proper

pay and benefits of employment are a pretext created to avoid the truth and legal

liability.

       163. At all times relevant to this lawsuit, Defendants were aware of the law

of USERRA.

       164. Defendants were given multiple notices of the law of USERRA prior

to this lawsuit.

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      165. Defendants are highly trained legal professionals, with experience and

immediate access to the provisions of USERRA, with the support of a sophisticated

Human Resources Department, including immediate access to professional human

resources personnel, and specially trained employment counsel.

      166. To the extent that Defendants allege application of any agreement that

constitutes any limitation on Plaintiff’s rights under USERRA, it is illegal, null and

void, inapplicable and of no force or effect pursuant to 38 U.S.C. § 4302.

                       V.     VIOLATIONS OF USERRA

               (COUNT 1 VIOLATION OF 38 U.S.C. § 4302(b))

      167. Defendants violated 38 U.S.C. § 4302(b) of USERRA, among other

          ways, by:

      a. Maintaining a military leave policy that violates the provisions of

          USERRA;

      b. Imposing additional employment requirements on Sergeant O’Connell in

          contravention of 38 U.S.C. § 4316(d);

      c. Imposing additional employment requirements on Sergeant O’Connell in

          contravention of 20 C.F.R. § 1002.121; and

      d. Imposing additional employment requirements on Sergeant O’Connell in

          contravention of 20 C.F.R. § 1002.85(c).




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                 (COUNT 2 VIOLATION OF 38 U.S.C. § 4311(a))

      168.        Defendants violated 38 U.S.C. § 4311(a) of USERRA, among other

ways, by:

      a. Denying Sergeant O’Connell pay and benefits of employment

            based on Sergeant O’Connell’s obligation to perform military

            service; and

      b. Imposing additional prerequisites to employment benefits

            based on Sergeant O’Connell’s obligation to perform military

            service;

                 (COUNT 3 VIOLATION OF 38 U.S.C. § 4311(b))

      169. Defendants violated 38 U.S.C. § 4311(b) of USERRA, among other

ways, by:

      a. Taking adverse employment actions against Sergeant

            O’Connell following Sergeant O’Connell’s complaint to

            TBPD that TBPD was violating his rights under USERRA;

      b. Taking adverse employment actions against Sergeant

            O’Connell following Sergeant O’Connell’s complaint to

            DOL/VETS that TBPD was violating his rights under

            USERRA; and




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      c. Denying Sergeant O’Connell proper pay and benefits of

         employment in retaliation for Sergeant O’Connell’s exercise

         of his rights under USERRA.

      d. Denying Sergeant O’Connell’ promotion.

              (COUNT 4 VIOLATION OF 38 U.S.C. § 4316(d))

      170. Defendants violated 38 U.S.C. § 4316(d) of USERRA, among other

ways, by denying Sergeant O’Connell paid leave.

         (LIQUIDATED DAMAGES UNDER 38 U.S.C. § 4323(d))

      171.    Sergeant O’Connell is entitled to liquidated damages under 38

U.S.C. § 4323(d) of USERRA because:

      a. Sergeant O’Connell gave Defendants multiple warnings that

         their actions violated USERRA;

      b. Defendants knew of Sergeant O’Connell’s USERRA rights;

      c. Defendants recklessly disregarded Sergeant O’Connell’s

         rights and warnings;

      d. Defendants recklessly disregarded the obligations of their

         own contracts with the United States, if any; and

      e. Defendants    recklessly   disregarded   their   own   posted

         USERRA workplace notices.




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                           VI.   PRAYER FOR RELIEF

      Sergeant O’Connell respectfully prays that judgment be entered against

Defendants on all claims and this Court award the following relief:

      A.       Declare that the TBPD military leave policy violates USERRA.

      B.       Declare that Defendants violated USERRA § 4302, 4311(a), 4311(b)

and 4316(d);

      C.       Require that Defendants compensate Plaintiff for any losses of wages

or benefits in the amount to be proven at trial including back pay, front pay, pre and

post judgment interest, lost benefits of employment, negative tax consequences of

any award, liquidated damages, exemplary damages, and punitive damages as

provided by law.

      D.       Require Defendants to pay Plaintiff liquidated damages in amount to

be proven at trial.

      E.       Require Defendants to pay Plaintiff’s attorney’s fees, expert witness

fees, and costs, pursuant to 38 U.S.C. § 4323, and as otherwise provided by law.

      F.       Enter an injunction preventing TBPD and the other Defendants from

imposing additional employment requirements on Sergeant O’Connell in

contravention of 38 U.S.C. § 4316(d); 20 C.F.R. § 1002.121; and 20 C.F.R. §

1002.85(c).




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      E.     Pursuant to Rule 54(c), grant all relief to which Plaintiff is entitled and

for such other and further relief as this Court deems just and equitable, including

injunctive relief to preserve Sergeant O’Connell’s benefits of employment and to

enjoin future violations of the USERRA under 38 U.S.C. § 4323.

                                  JURY DEMAND

      Pursuant to Fed. R. Civ. P. 38 or any similar rule of law, Plaintiff demands a

trial by jury for all causes of action and issues for which trial by jury is available.

      Respectfully submitted this January 8, 2021.


                           _____________________
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